     Case 8:22-cv-00099-DOC-DFM Document 350-10 Filed 05/26/22 Page 1 of 2 Page ID
                                      #:5391

   OFFICE OF GENERAL COUNSEL
 1
   U.S. HOUSE OF REPRESENTATIVES
 2 5140 0 'Neill House Office Building
   Washington, D.C. 20515
 3
   SHER TREMONTE LLP
 4 90 Broad Street, 23rd Floor
 5 New York, New York 10004
 6 ARNOLD & PORTER
   601 Massachusetts Ave, NW
 7 Washington, D.C. 20001
 8

 9    Counsel for the Congressional Defendants
10
                             UNITED STATES DISTRICT COURT
11
12                         CENTRAL DISTRICT OF CALIFORNIA
13                                  SOUTHERN DIVISION
14      JOHN C. EASTMAN                          Case No. 8:22-cv-00099-DOC-DFM
15
                    Plaintiff,
16
        vs.
17
18      BENNIE G. THOMPSON, et al.,

19                  Defendants.
20

21

22
23

24
25
                                        Exhibit I
26
27

28
Case 8:22-cv-00099-DOC-DFM Document 350-10 Filed 05/26/22 Page 2 of 2 Page ID
                                 #:5392
